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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


 JASON JONES,

                            Petitioner,

 vs.                                           Case No.   2:07-cv-448-FtM-29DNF
                                               Case No.    2:03-cr-74-FtM-29DNF

 UNITED STATES OF AMERICA,

                     Respondent.
 ___________________________________

                                OPINION AND ORDER

        This matter comes before the Court on petitioner Jason Jones’s

 “Administrative, Article I § 9 Cl 2, “Habeas Corpus”; or in the

 Alternative Title 28 U.S.C. §2254/2255, Civil Action; or in the 3rd

 Alternative, Forward to Office of Pardon Attorney, for Commutation

 of Sentence” (Doc. #1; Cr. Doc. #1),1 filed on July 16, 2007, and

 construed as a Motion Under 28 U.S.C. § 2255 by Order (Doc. #7) on

 August      27,   2007.     The   United      States   filed   its   Response   in

 Opposition to Petitioner’s Motion to Vacate, Set Aside, or Correct

 Sentence, Pursuant to 28 U.S.C. § 2255 on October 26, 2007 (Doc.

 #8).       Petitioner filed a Traverse (Doc. #9) on November 11, 2007.

                                          I.

        On June 25, 2003, a federal grand jury in Fort Myers, Florida

 returned a twelve-count Indictment (Cr. Doc. #39) naming petitioner


        1
       The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this opinion.
 The Court will refer to the docket of civil habeas case as “Doc.”,
 and will refer to the underlying criminal case as “Cr. Doc.”
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 Jason Jones (petitioner or Jones) and four              other defendants.

 Petitioner was charged in Count One with conspiracy to possess with

 intent to distribute 5 kilograms or more of cocaine, in violation

 of 21 U.S.C. § 846; in Count Five with using and carrying a firearm

 and possession of a firearm in furtherance of a drug trafficking

 crime, i.e., the Count One conspiracy, in violation of 18 U.S.C. §

 924(c)(1)(A); and in Count Ten with possession of a firearm by an

 illegal alien, in violation of 18 U.S.C. § 922(g)(5).         After a jury

 trial, petitioner was convicted of all three counts and sentenced

 to   a    total   of   211   months   imprisonment.    (Cr.   Doc.   #139.)

 Petitioner’s convictions and sentences were affirmed in United

 States v. Paisley, 178 Fed. Appx. 955 (11th Cir. 2006).         A petition

 for a writ of certiorari was denied by the United States Supreme

 Court on October 2, 2006.        Jones v. United States, 127 S. Ct. 287

 (2006).      Petitioner has filed a timely motion under 28 U.S.C. §

 2255 alleging claims of ineffective assistance of counsel.              The

 factual background of the case was summarized in Paisley, 178 Fed.

 Appx. at 957-58.

                                        II.

          Issues of ineffective assistance of counsel can be raised in

 a § 2255 proceeding even where petitioner could have raised the

 issues on direct appeal but failed to do so.            Massaro v. United

 States, 538 U.S. 500 (2003).          The Supreme Court established a two-

 part test for determining whether a convicted person is entitled to

 habeas relief on the ground that his or her counsel rendered
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 ineffective assistance: (1) whether counsel’s representation was

 deficient,         i.e.,     “fell    below       an    objective      standard   of

 reasonableness” “under prevailing professional norms”; and (2)

 whether the deficient performance prejudiced the defendant, i.e.,

 there    was   a    reasonable       probability       that,    but   for   counsel’s

 unprofessional errors, the result of the proceeding would have been

 different.      Strickland v. Washington, 466 U.S. 668, 687-88 (1984).

 A court must “judge the reasonableness of counsel’s conduct on the

 facts of the particular case, viewed as of the time of counsel’s

 conduct.”      Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000) (quoting

 Strickland, 466 U.S. at 690).               This judicial scrutiny is “highly

 deferential.”        Id.     A court must adhere to a strong presumption

 that counsel’s conduct falls within the wide range of reasonable

 professional assistance.             Strickland, 466 U.S. at 689-90.              An

 attorney is not ineffective for failing to raise or preserve a

 meritless issue.           Ladd v. Jones, 864 F.2d 108, 109-10 (11th Cir.

 1989); United States v. Winfield, 960 F.2d 970, 974 (11th Cir.

 1992).

                                             A.

       Petitioner       alleges       that     his      trial    attorney    provided

 ineffective assistance by failing to know that under 27 C.F.R. §

 72.11 “all crimes are commercial in nature.”                   (Docs. ## 1, p. 2; 9,

 p. 5.)   This section contains the definitions of words used in the

 regulations relating to personal property and carriers seized by

 Bureau of Alcohol, Tobacco and Firearms (BATF) officers as subject
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 to forfeiture under federal laws.                 27 C.F.R. § 72.11.       Section

 72.11 does not state that all crimes are commercial in nature, and

 in   any   event   this   section    has     no    relevance   to   the   criminal

 prosecution of petitioner.          Assuming defense counsel did not know

 of this section, there would still be no ineffective assistance of

 counsel because there would be neither deficient performance nor

 prejudice to petitioner.

                                        B.

       Petitioner     alleges    that       his      trial   attorney      provided

 ineffective assistance by failing to know that the BATF undercover

 officer was acting without authority to enforce drug offenses under

 21 U.S.C. § 801 et. seq. and had not been cross-designated by the

 Attorney General to do so under 21 U.S.C. § 878.               (Doc. #1, p. 2.)

 The Court finds no merit to this position.

       As set forth in the Complaint (Cr. Doc. #1), the BATF received

 information concerning armed home invasions and designed a “reverse

 sting” in which defendants would participate in a home invasion of

 a narcotics “stash” house orchestrated by a disgruntled drug

 courier.    The disgruntled drug courier was an undercover Special

 Agent of the BATF.          The resulting Indictment (Cr. Doc. #39)

 contained one drug conspiracy count and eleven firearm violation

 counts.

       Under 18 U.S.C. § 3051(a), enacted on November 25, 2002, prior

 to the activities charged in the Indictment, special agents of the

 BATF has the authority to “make arrests without warrant for any
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 offense against the United States committed in their presence, or

 for any felony cognizable under the laws of the United States if

 they have reasonable grounds to believe that the person to be

 arrested has committed or is committing such felony.”             Petitioner

 was arrested on probable cause and charged in a Complaint (Cr. Doc.

 #1) with offenses committed in the officers’ presence and felonies

 cognizable under the laws of the United States.        There was no legal

 basis to challenge the authority of the BATF special agents to

 conduct the investigation and make the arrests, and therefore

 counsel did not provide ineffective assistance by failing to raise

 the issue of the BATF special agent’s authority.

                                        C.

       Petitioner     alleges    that     his   trial   attorney     provided

 ineffective assistance by failing to inform petitioner of his right

 to contest personal jurisdiction before entering a plea of not

 guilty and failing to challenge personal jurisdiction.            (Docs. ##

 1, p. 2; 9, pp. 4-5.)      The Court finds otherwise.

       Petitioner was arrested without a warrant based on probable

 cause.   A Criminal Complaint (Cr. Doc. #1) was filed charging him

 with conspiracy to possess with intent to distribute 5 kilograms or

 more of cocaine, in violation of 21 U.S.C. § 846 and with using and

 carrying a firearm and possession of a firearm in furtherance of a

 drug trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A).

 Petitioner had his initial appearance before a magistrate judge

 (Cr. Doc. #7), was ordered detained without bail (Cr. Doc. #36),
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 was named in an Indictment (Cr. Doc. #39), and was arraigned before

 a magistrate judge (Cr. Doc. #46).           “A federal district court has

 personal jurisdiction to try any defendant brought before it on a

 federal indictment charging a violation of federal law.”                United

 States v. Rendon, 354 F.3d 1320, 1326 (11th Cir. 2003)(collecting

 cases).    The Indictment (Cr. Doc. #39) charged petitioner with

 three violations of federal law, and therefore the district court

 had personal jurisdiction over petitioner.            Petitioner’s presence

 before the Court was obtained lawfully, but even if it had not been

 there is no basis to challenge the jurisdiction of the court over

 his person. United States v. Alvarez-Machain, 504 U.S. 655 (1992);

 United States v. Arbane, 446 F.3d 1223, 1225 (11th Cir. 2006).

 Accordingly, there was no ineffective assistance of counsel in

 failing   to   advise   petitioner     that    he   could    contest   personal

 jurisdiction or failing to make such a challenge because there was

 no basis for such a challenge.

                                        D.

       Petitioner     alleges    that     his    trial   attorney       provided

 ineffective assistance by failing to contest the subject matter

 jurisdiction of the court because it was a reverse sting conducted

 by an unauthorized BATF agent acting outside the scope of his

 authority. (Doc. #1, p. 2; Doc. #9, pp. 1-3).               Reading the motion

 liberally, the Court also construes it as a challenge to the

 subject matter jurisdiction of the district court.



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        Subject matter jurisdictional matters can always be raised by

 some    vehicle.       United   States     v.   Cotton,    535    U.S.   625,   630

 (2002)(because      jurisdiction     means      the   court’s      statutory     or

 constitutional power to adjudicate a case, “defects in subject-

 matter jurisdiction require correction regardless of whether the

 error was raised in district court.”); United States v. Peter, 310

 F.3d 709, 712 (11th Cir. 2002)(jurisdictional error “can never be

 waived by parties to litigation.”); Harris v. United States, 149

 F.3d 1304, 1308 (11th Cir. 1998)(jurisdictional defects cannot be

 procedurally defaulted).        Subject-matter jurisdiction defines the

 court’s authority to hear a given type of case.              Alikhani v. United

 States, 200 F.3d 732, 734 (11th Cir. 2000), cert. denied, 531 U.S.

 929 (2000)(quoting United States v. Morton, 467 U.S. 822, 828

 (1984)).      The Constitution of the United States gives Congress the

 power    to   create   inferior   federal       courts    and    determine   their

 jurisdiction.      U.S. CONST . art. III, § 1.           Congress has conferred

 original jurisdiction of “all offenses against the laws of the

 United States” to the federal district courts.                  18 U.S.C. § 3231.

 Additionally, Congress has created district courts in each state,

 including the State of Florida.            It has further divided the state

 into three judicial districts and provided that Lee County, Florida

 will be in the Middle District of Florida and that court shall be

 held inter alia in Fort Myers.           28 U.S.C. § 89.

        The three counts in petitioner’s Indictment include one drug

 offense that is against the laws of the United States, 21 U.S.C. §§

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 841(a)(1), 846, and two firearms offenses which are against the

 laws   of   the   United   States,   18      U.S.C.   §§   922(g)   and    924(c).

 Therefore, the district court had subject matter jurisdiction.

 Additionally, for the reasons set forth above, the BATF special

 agent was not acting without authority. Consequently, petitioner’s

 subject-matter jurisdiction challenge is without merit, as is his

 claim of ineffective assistance of counsel.

                                        E.

        Petitioner     alleges   that      his    trial     attorney       provided

 ineffective assistance by failing to investigate the legislative

 history of the Sentencing Reform Act of 1984 and the then-mandatory

 Sentencing Guidelines.       If this had been done, petitioner argues,

 counsel would have determined that the Sentencing Reform Act of

 1984 and the Sentencing Guidelines were unconstitutional because

 they impermissibly created new            and    permanent laws through an

 appropriations act and constitute a bill of attainder.                (Docs. ##

 1, p. 3; 1-2, pp. 1-17; 9, p. 6.)

        The United States Supreme Court upheld the constitutionality

 of the Sentencing Guidelines in Mistretta v. United States, 488

 U.S. 361 (1989).        When the Supreme Court found the Sentencing

 Guidelines unconstitutional in United States v. Booker, 543 U.S.

 220 (2005), it did not rely on any of the type of arguments now

 proffered by petitioner. Petitioner’s basic position that Congress

 cannot create substantive law in an appropriations statute is

 incorrect.        Robertson v. Seattle Audubon Soc’y, 503 U.S. 429
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 (1992)(“Congress     nonetheless     may     amend    substantive     law   in   an

 appropriations statute, as long as it does so clearly.”); Donaldson

 v. Coastal Marine Contr. Corp. Ins. Co. of N. Am., 116 F.3d 1449,

 1450 (11th Cir. 1997). Further, the Eleventh Circuit has summarily

 rejected the argument that the Sentencing Guidelines violated the

 prohibition against bills of attainder.              United States v. Frazier,

 89 F.3d 1501, 1503 n.1 (11th Cir. 1996).              Counsel did not provide

 ineffective    assistance      in    failing     to    argue   the    Sentencing

 Guidelines were unconstitutional for these reasons.

                                        F.

       Petitioner     alleges    that       his   trial     attorney     provided

 ineffective assistance by failing to address the fact that the

 Assistant U.S. Attorney (AUSA) assigned to the case violated his

 oath and duty of candor to the court by permitting the action to be

 brought before the court in the complete absence of jurisdiction.

 (Doc. #1, p. 3.)      For the reasons set forth above, the district

 court had subject matter jurisdiction of the case and personal

 jurisdiction of petitioner.         Accordingly, there was no ineffective

 assistance of counsel in failing to argue to the contrary.

                                        G.

       Petitioner     alleges    that       his   trial     attorney     provided

 ineffective assistance by allowing fake and imaginary drugs, being

 proffered by an unauthorized agent, to trigger a base offense level

 of any kind.    (Doc. #1, p. 3.)      Defense counsel raised the issue in


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  the district court and on appeal, and the Eleventh Circuit rejected

  petitioner’s argument.     Paisley, 178 Fed. Appx. at 964.       There was

  no ineffective assistance of counsel.

       Accordingly, it is now

       ORDERED:

       1.    Petitioner’s Motion Under 28 U.S.C. § 2255 (Doc. #1) is

  DENIED as to all claims for the reasons set forth above.

       2.   The Clerk of the Court shall enter judgment accordingly

  and close the civil file.       The Clerk shall place of copy of the

  civil Judgment in the criminal file.

       3.     Petitioner’s    Informative    Motion   (Doc.   #222)   in   the

  criminal file is DENIED as moot.

       4.   Petitioner’s “Administrative, Article I § 9 Cl 2, “Habeas

  Corpus”; or in the Alternative Title 28 U.S.C. §2254/2255, Civil

  Action; or in the 3rd Alternative, Forward to Office of Pardon

  Attorney, for Commutation of Sentence” (Doc. #226) in the criminal

  file is DENIED as a duplicate of the prior filing construed as a

  Motion Under 28 U.S.C. § 2255.

       DONE AND ORDERED at Fort Myers, Florida, this           23rd   day of

  July, 2008.




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  Copies:
  AUSA Michelland
  Jason Jones




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